                     IN THE COURT OF APPEALS OF NORTH CAROLINA

                                          2021-NCCOA-492

                                           No. COA20-828

                                      Filed 21 September 2021

     Burke County, No. 20SPC50205

     IN RE: K.V.


             Appeal by Respondent from order entered 10 July 2020 by Judge Richard S.

     Holloway in Burke County District Court. Heard in the Court of Appeals 8 September

     2021.


             Attorney General Joshua H. Stein, by Assistant Attorney General Erin E.
             McKee, for the State.

             Carella Legal Services, PLLC, by John F. Carella, for Respondent-Appellant
             K.V.


             INMAN, Judge.


¶1           Respondent-Appellant K.V. (“Mr. Vickers”)1 appeals from an involuntary

     commitment order declaring him mentally ill and dangerous to others. The State

     concedes, and we agree, that the record evidence and the trial court’s findings are

     insufficient to support the conclusion that Mr. Vickers was dangerous to others. We

     reverse the involuntary commitment order.

                         I.   FACTUAL &amp; PROCEDURAL HISTORY



             1 We use a pseudonym to protect the privacy of the respondent and for ease of reading.
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¶2         Mr. Vickers was arrested in Polkton, North Carolina, on 19 April 2019 and

     charged with threatening a judge presiding in a child welfare case. He was

     incarcerated pending trial. Fourteen months later, in June 2020, he was deemed

     incapable to proceed as a defendant in the criminal prosecution and was involuntarily

     committed to Broughton Hospital. He was reexamined upon admission, and the

     admitting psychiatrist recommended further involuntary commitment for up to 30

     days. The psychiatrist, however, failed to indicate which statutory basis supported

     further involuntary commitment. The examination form noted Mr. Vickers had

     allegedly threatened a judge and was “dangerous,” but failed to indicate whether he

     was a threat to himself or others and did not include any basis for deeming him

     dangerous.

¶3         The trial court held a hearing on the involuntary commitment recommendation

     on 10 July 2020. The attending psychiatrist at Broughton Hospital testified for the

     State, opining that Mr. Vickers: (1) suffered from an unspecified psychotic disorder;

     (2) was not dangerous to himself; and (3) was a danger to others. However, the

     psychiatrist further testified that Mr. Vickers “has not been aggressive or self

     injurious,” and had not made any threats to others since his admission. She also

     testified that she had not forced medication on Mr. Vickers because “[i]t’s unethical

     to force medication on a patient who is not a danger to himself or others.” (emphasis

     added). The State offered no evidence about Mr. Vickers’s conduct during his fourteen
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     months in the Rowan County Jail immediately preceding his admission to Broughton

     Hospital.

¶4         Mr. Vickers testified that he had no history of mental illness and denied

     making a “true threat” against a judge. He testified that he made no threat in court

     or in the presence of the judge, but posted a “Facebook rant” expressing his feelings

     about “what happened in the past to the Court and how my family got divided because

     of a bunch of falsehoods and lies meant to destroy my family.”

¶5         The trial court entered an order involuntarily committing Mr. Vickers for an

     additional fourteen days based on conclusions that Mr. Vickers suffered from a

     mental illness and was dangerous to others. In support of its conclusions, the trial

     court recited the attending psychiatrist’s testimony that Mr. Vickers suffered from

     an unspecified psychiatric disorder, had refused medication, and had cursed at

     Broughton Hospital staff. Mr. Vickers appealed.

                                     II.     ANALYSIS

¶6         Mr. Vickers contends that the involuntary commitment order must be vacated

     without remand because the trial court failed to find—and the evidentiary record does

     not disclose—facts showing him to be dangerous to others. The State concedes both

     issues.

¶7         In order to involuntarily commit an individual as mentally ill and dangerous

     to others, a trial court must make findings based on clear, cogent, and convincing
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evidence showing that:

              [w]ithin the relevant past, the individual has inflicted or
              attempted to inflict or threatened to inflict serious bodily
              harm on another, or has acted in such a way as to create a
              substantial risk of serious bodily harm to another, or has
              engaged in extreme destruction of property; and that there
              is a reasonable probability that this conduct will be
              repeated.

N.C. Gen. Stat. § 122C-3(11)(b) (2019); see also N.C. Gen. Stat. § 122C-268(j) (2019)

(imposing the clear, cogent, and convincing evidence standard to determinations of

dangerousness to others). The State concedes that the trial court’s findings were

inadequate to support a conclusion of dangerousness to others. It further concedes

that the evidence presented to the trial court—the attending psychiatrist’s conclusory

opinion,2 the incomplete 29 June 2020 involuntary commitment recommendation

form, and Mr. Vickers’s testimony—fails to clearly, cogently, and convincingly show

Mr. Vickers was a threat to others. The State likewise agrees that it is appropriate

to set aside the trial court’s order without remand under these circumstances. See,

e.g., In re N.U., 270 N.C. App. 427, 433, 840 S.E.2d 296, 300-01 (2020) (“As neither

the record evidence nor the findings of fact support the trial court’s conclusion that




       2 In a later order dismissing another involuntary commitment hearing held on 24 July

2020, the trial court found that the attending psychiatrist’s conclusion that Mr. Vickers was
dangerous to others was “not based in the relevant past and [was] conclusory and d[id] not
provide clear findings that substantiate mental illness and dangerousness.”
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     Respondent was dangerous . . . , we reverse the trial court’s involuntary commitment

     order.”).

¶8          Because we are convinced that no reasonable trier of fact could find that Mr.

     Vickers was a danger to himself or others within the scope of the involuntary

     commitment statute, we reverse, rather than vacate, the trial court’s order. Id.; see

     also In re Booker, 193 N.C. App. 433, 437, 667 S.E.2d 302, 305 (2008) (holding that

     when the facts found by the trial court do not support a determination of

     dangerousness to self or others, “we must reverse the trial court’s order” (citation

     omitted)).

                                  III.     CONCLUSION

¶9          For the foregoing reasons, we reverse the involuntary commitment order.

            REVERSED.

            Judges DIETZ and GRIFFIN concur.
